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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )                  8:05CR387
                                               )
DARTAVIAN WATSON,                              )                    ORDER
BILLY DEE SPENCER, and                         )
JUAN ANTONIO GARCIA,                           )
                                               )
                     Defendants.               )


       Plaintiff requests an extension of time from April 6, 2006 to April 20, 2006 to file an
objection to the Report and Recommendation filed on March 27, 2006 (#48). For good
cause shown,

       IT IS ORDERED:

       1. The motion for extension of time (#49) is granted, and the United States is
given until and including April 20, 2006 to file a Statement of Objection to the Report and
Recommendation filed on March 27, 2006 (#48).

       2. The ends of justice will be served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between April 6, 2006 and April 20,
2006, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reasons stated in the motion, and considering the diligence
of counsel. The failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B).

       DATED April 4, 2006.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
